       Case 2:20-cv-00736-GMN-NJK Document 6
                                           8 Filed 05/14/20
                                                   05/15/20 Page 1 of 2
      


    -HQQLIHU/%UDVWHU
      1HYDGD%DU1R
    $QGUHZ-6KDUSOHV
      1HYDGD%DU1R
    1$</25 %5$67(5
      ,QGLJR'ULYH6XLWH
    /DV9HJDV19
      7HOHSKRQH  
    )DFVLPLOH  
      MEUDVWHU#QEODZQYFRP
    DVKDUSOHV#QEODZQYFRP
      
 
      $WWRUQH\VIRU'HIHQGDQW
    (;3(5,$1,1)250$7,2162/87,216
      ,1&
     
                                  81,7('67$7(6',675,&7&2857

                                        ',675,&72)1(9$'$



   .DPHURQ7HUU\                                     &DVH1RFY*011-.

                        3ODLQWLII                    '()(1'$17(;3(5,$1,1)250$7,21
                                                          62/87,216,1&$1'3/$,17,))¶6
            Y                                        67,38/$7,2172(;7(1'7,0(72
   6HFXULW\6HUYLFH)HGHUDO&UHGLW8QLRQDQG          $16:(5&203/$,17
      ([SHULDQ,QIRUPDWLRQ6ROXWLRQV,QF              
                                                         ),5675(48(67 
                           'HIHQGDQWV
                                                       &RPSODLQWILOHG$SULO


               'HIHQGDQW([SHULDQ,QIRUPDWLRQ6ROXWLRQV,QF ³([SHULDQ´ DQG3ODLQWLII.DPHURQ7HUU\

       ³3ODLQWLII´ E\DQGWKURXJKWKHLUUHVSHFWLYHFRXQVHORIUHFRUGKHUHE\VXEPLWWKLVVWLSXODWLRQWR

      H[WHQGWKHWLPHIRU([SHULDQWRUHVSRQGWR3ODLQWLII¶V&RPSODLQW (&)1R SXUVXDQWWR/5,$

      

               3ODLQWLIIILOHGKLV&RPSODLQWRQ$SULO (&)1R 7KHFXUUHQWGHDGOLQHIRU

      ([SHULDQWRUHVSRQGWRWKH&RPSODLQWLV0D\3ODLQWLIIDQG([SHULDQVWLSXODWHDQGDJUHH

      WKDW([SHULDQVKDOOKDYHXQWLO-XQHWRILOHLWVUHVSRQVLYHSOHDGLQJ

               7KLVLV([SHULDQ¶VILUVWUHTXHVWIRUDQH[WHQVLRQRIWLPHWRUHVSRQGWRWKH&RPSODLQWDQGLV

      QRWLQWHQGHGWRFDXVHDQ\GHOD\RUSUHMXGLFHDQ\SDUW\EXWGXHWRFHUWDLQGHOD\VFDXVHGE\WKH


      1$,Y                                                                                     

       
       Case 2:20-cv-00736-GMN-NJK Document 6
                                           8 Filed 05/14/20
                                                   05/15/20 Page 2 of 2
      


    YDULRXVMXULVGLFWLRQV¶VWD\DWKRPHRUGHUVDQGWRSHUPLW([SHULDQDQRSSRUWXQLW\WRPRUHIXOO\
    LQYHVWLJDWHWKHFODLPVDOOHJHG
              ,7,66267,38/$7('
              '$7('WKLVWKGD\RI0D\
      
    
          1$</25 %5$67(5                            .$=(5281,/$:*5283$3&
 

 
          %\/s/ Jennifer L. Braster                  %\/s/ Gustavo Ponce
            -HQQLIHU/%UDVWHU                         *XVWDYR3RQFH
              1HYDGD%DU1R                         1HYDGD%DU1R
            $QGUHZ-6KDUSOHV                          6RXWK)RUW$SDFKH5RDG6XLWH
              1HYDGD%DU1R                        /DV9HJDV19
           ,QGLJR'ULYH6XLWH                
              /DV9HJDV19                      Attorneys for Plaintiff
                                                    Kameron Terry
          Attorneys for Defendant                       
       Experian Information Solutions, Inc.
          
         
            
         ,7,66225'(5('
            
         'DWHGWKLVBBGD\RI0D\
             Dated: May 15, 2020                          
                                                          81,7('67$7(60$*,675$7(-8'*(
   
























      1$,Y                                                                                
                                                    
          
